                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE

UNITED STATES OF AMERICA


v.                                                                          No. 3:22-CR-14
                                                                            Varlan/McCook

DAVID HENDERSON


                        MOTION TO DISMISS THE INDICTMENT
                        FOR FAILURE TO STATE AN OFFENSE


       Comes the Defendant, David Henderson, through counsel, pursuant to Rules 7(c) and

12(b)(3) of the Federal Rules of Criminal Procedure, and the Fifth and Sixth Amendments to the

United States Constitution, and respectfully moves the Court to dismiss the Indictment filed on

February 16, 2022, on the grounds that the Indictment, insofar as it alleges a violation of 18

U.S.C. §§ 666(a)(1)(A) and 371, fails to state an offense.

       Respectfully submitted on April 29, 2022.

                                                             s/ Robert R. Kurtz
                                                             Robert R. Kurtz
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